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                   UNITED STATES COURT OF APPEALS                    FILED
                          FOR THE NINTH CIRCUIT                       MAR 28 2019
                                                                  MOLLY C. DWYER, CLERK
                                                                   U.S. COURT OF APPEALS
INDIGENOUS ENVIRONMENTAL                     No.   18-36068
NETWORK; NORTH COAST RIVERS
ALLIANCE,                                    D.C. No. 4:17-cv-00029-BMM
                                             District of Montana,
               Plaintiffs-Appellees,         Great Falls

 v.                                          ORDER

UNITED STATES DEPARTMENT OF
STATE; et al.,

               Defendants,

and

TRANSCANADA KEYSTONE PIPELINE,
LP; TRANSCANADA CORPORATION,

      Intervenor-Defendants-
      Appellants.


NORTHERN PLAINS RESOURCE                     No.   18-36069
COUNCIL; et al.,
                                             D.C. No. 4:17-cv-00031-BMM
               Plaintiffs-Appellees,

ROSEBUD SIOUX TRIBE; FORT
BELKNAP INDIAN COMMUNITY,

               Intervenors-Pending,

 v.

THOMAS A. SHANNON, Jr., in his official
         Case: 18-36068, 03/28/2019, ID: 11245473, DktEntry: 32, Page 2 of 4
        Case 4:17-cv-00029-BMM Document 254 Filed 03/29/19 Page 2 of 4



capacity; et al.,

                    Defendants,

and

TRANSCANADA KEYSTONE PIPELINE,
LP; TRANSCANADA CORPORATION,

       Intervenor-Defendants-
       Appellants.


INDIGENOUS ENVIRONMENTAL                         No.   19-35036
NETWORK; NORTH COAST RIVERS
ALLIANCE,                                        D.C. Nos.   4:17-cv-00029-BMM
                                                             4:17-cv-00031-BMM
                    Plaintiffs-Appellants,

  v.

UNITED STATES DEPARTMENT OF
STATE; et al.,

                    Defendants-Appellees,

TRANSCANADA KEYSTONE PIPELINE,
LP; TRANSCANADA CORPORATION,

       Intervenor-Defendants-
       Appellees.


NORTHERN PLAINS RESOURCE                         No.   19-35064
COUNCIL; et al.,
                                                 D.C. Nos.   4:17-cv-00029-BMM
                    Plaintiffs-Appellants,                   4:17-cv-00031-BMM

ROSEBUD SIOUX TRIBE; FORT


                                             2
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BELKNAP INDIAN COMMUNITY,

               Intervenors-Pending,

 v.

THOMAS A. SHANNON, Jr., in his official
capacity; et al.,

               Defendants-Appellees,

TRANSCANADA KEYSTONE PIPELINE,
LP; TRANSCANADA CORPORATION,

      Intervenor-Defendants-
      Appellees.


INDIGENOUS ENVIRONMENTAL                     No.   19-35099
NETWORK; et al.,
                                             D.C. Nos.    4:17-cv-00029-BMM
               Plaintiffs-Appellees,                      4:17-cv-00031-BMM

ROSEBUD SIOUX TRIBE; FORT
BELKNAP INDIAN COMMUNITY,

               Intervenors-Pending,

 v.

UNITED STATES DEPARTMENT OF
STATE; et al.,

               Defendants-Appellants,

and

TRANSCANADA KEYSTONE PIPELINE,
LP; TRANSCANADA CORPORATION,


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                 Intervenor-Defendants.

Before: SILVERMAN and TALLMAN, Circuit Judges.

      The unopposed motion for an extension of time to file opening briefs (No.

18-36069 Docket Entry No. 41) is granted. The briefing schedule for these

consolidated cross-appeals shall proceed as follows:

      The first cross-appeal (opening) briefs of the appellants in consolidated

appeal Nos. 18-36068 and 18-36069, TransCanada Keystone Pipeline, LP and

TransCanada Corporation (“TransCanada”), and the appellants in appeal No. 19-

35099, U.S. Department of State, et al. (“federal government appellants”) shall be

due May 13, 2019; the second (answering and opening) cross-appeal briefs of the

appellants in consolidated appeal Nos. 19-35036 and 19-35064, Indigenous

Environmental Network, et al. (“IEN”) and the Northern Plains Resource Council,

et. al. (“NPRC”) shall be due June 12, 2019; the third cross-appeal (reply and

answering) briefs of TransCanada and the federal government appellants shall be

due July 12, 2019; the optional cross-appeal reply brief by IEN and NPRC is due

within 21 days after service of the last of the third cross-appeal briefs.

      Applicants Rosebud Sioux Tribe and Fort Belknap Indian Community’s

motion to intervene will be addressed by separate order.




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